Case 8:14-cv-00922-JLS-RNB Document 30 Filed 01/12/15 Page 1 of 2 Page ID #:87



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  13   Counterdefendant RGB SYSTEMS, INC.
  14                  IN THE UNITED STATES DISTRICT COURT
  15                      CENTRAL DISTRICT OF CALIFORNIA
  16                                   WESTERN DIVISION
  17   RGB SYSTEMS, INC.,                            Case No.: SACV 14-00922 JLS (RNBx)
  18               Plaintiff,
  19                                                 ORDER RE: STIPULATION FOR
             v.                                      DISMISSAL OF ENTIRE ACTION
  20   CRESTRON ELECTRONICS, INC.
       and DOES 1-10,
  21
                                                     Case Filed: June 13, 2014
                   Defendants.                       Trial Date: None Set
  22
                                                     Hon. Judge Josephine L. Staton
  23   CRESTRON ELECTRONICS,                         Hon. Magistrate Judge Robert N. Block
       INC.,
  24
                   Counter-Claimant,
  25
             v.
  26
       RGB SYSTEMS, INC.,
  27
                   Counter-Defendant.
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                  PROPOSED ORDER RE: STIPULATION FOR DISMISSAL OF ENTIRE ACTION (SACV 14-00922 JLS (RNBX))
Case 8:14-cv-00922-JLS-RNB Document 30 Filed 01/12/15 Page 2 of 2 Page ID #:88



   1         The Court having considered the STIPULATION FOR DISMISSAL OF
   2   ENTIRE ACTION of the parties pursuant to their Settlement Agreement and for
   3   good cause shown, IT IS HEREBY ORDERED that pursuant to FRCP
   4   41(a)(1)(A)(ii) and (c):
   5         1.     This entire action is dismissed with prejudice;
   6         2.     To the extent the Settlement Agreement does not provide otherwise,
   7   each party is to bear its own attorney’s fees and costs; and
   8         3.     The Court shall retain jurisdiction to enforce the terms of the
   9   Settlement Agreement and, if necessary, to set aside this Order for that purpose.
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  11
       DATED: January 12, 2015                         JOSEPHINE L. STATON
                                                   ________________________________
  12
                                                   Honorable Josephine L. Staton
  13                                               United States District Judge, Presiding
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                   PROPOSED ORDER RE: STIPULATION FOR DISMISSAL OF ENTIRE ACTION (SACV 14-00922 JLS (RNBX))
